






Opinion issued October 23, 2008







			





In The

Court of Appeals

For The

First District of Texas

____________


NOS. 01-08-00105-CR

         01-08-00106-CR

____________


JESUS HINOJOSA, JR., Appellant


V.


THE STATE OF TEXAS, Appellee






On Appeal from the 248th District Court 

Harris County, Texas

Trial Court Cause Nos. 1110696 and 1104408






MEMORANDUM  OPINION

	Appellant, Jesus Hinojosa, Jr., pleaded guilty to two separate felony offenses
of possession with intent to deliver a controlled substance.  After a presentence
investigation hearing, the trial court sentenced appellant in each case  to confinement
for 45 years.  We affirm.

	Appellant's counsel on appeal has filed a brief stating that the records  present 
no reversible error, that the appeals are without merit and are frivolous, and that the
appeals must be dismissed or affirmed.  See Anders v. California, 386 U.S. 738, 87
S.Ct. 1396, (1967). The brief meets the requirements of Anders by presenting a
professional evaluation of the record and detailing why there are no arguable grounds
for reversal.  Id. at 744, 87 S.Ct. at 1400; see also High v. State, 573 S.W.2d 807, 810
(Tex. Crim. App.1978). 

	Counsel represents that he has served a copy of the brief on appellant.  Counsel
also advised appellant of his right to examine the appellate record and file a pro se
brief.  See Stafford v. State, 813 S.W.2d 503, 510 (Tex. Crim. App. 1991).  More than
30 days have passed, and appellant has not filed a pro se brief.  Having reviewed the
record and counsel's brief, we agree that the appeals are frivolous and without merit
and that there is no reversible error.  See Bledsoe v. State, 178 S.W.3d 824, 826-27(Tex. Crim. App. 2005).  

	We affirm the judgments of the trial court and grant counsel's motion to
withdraw. (1) 

PER CURIAM


Panel consists of Chief Justice Radack, and Justices Nuchia and Higley.

Do not publish.  Tex. R. App. P. 47.2(b).









				
1.    	Appointed counsel still has a duty to inform appellant of the result of this appeal and
that he may, on his own, pursue discretionary review in the Texas Court of Criminal
Appeals.  See Bledsoe v. State, 178 S.W.3d 824, 826-27 (Tex. Crim. App. 2005).  


